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                               5100 West Eau Gallie Blvd
                               Melbourne, Brevard County
                               Florida, 32934
                               321-253-6608




                               5100 West Eau Gallie Blvd
                               Melbourne, Brevard County
                               Florida, 32934

                                321-253-6608




                                Brevard County Sheriff Dept. Animal Care Technician PT
                                5100 West Eau Gallie Blvd
                               Melbourne, Brevard County
                                Florida, 32934

                                321-253-6608
                               carly.christenson@bcso.us




                                     2
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                               Co-Owner
                               1551 Forum Place #200

                               West Palm Beach, Palm Beach County
                               Florida, 33401
                               561-935-9788
                                applebaum@phippsreporting.com




                               Deputy Clerk Eighteenth Judicial Circuit
                               2825 Judge Fran Jamieson Way
                              Melbourne, Brevard County
                                Florida, 32940
                               321-637-5413

                               kbarding@flcourts18.org




                                Deputy Clerk Eighteenth Judicial Circuit
                                2825 Judge Fran Jamieson Way

                                Melbourne, Brevard County
                               Florida, 32940
                                321-637-5413




                                Bail Bondsman for Central Florida Bonding
                                2911 39th St Suite 300
                               Orlando, Orange County
                               Florida, 32839
                                407-841-3646
                               cfborlando@cfborlando.com




                                     3
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                                                     (possible impersonation: see,
                                                     “Jim Bliss”)
                               (Retired) Brevard County Sheriff
                               1515 Sarno Rd. #B
                               Melbourne, Brevard County
                              Florida, 32935
                              321-253-6658
                                 brucebarnett@brevardsheriff.com




                               Fire Marshal & Code Enforcement
                               2055 South Patrick Dr.
                               Indian Harbour Beach, Brevard County           WITNESS
                                Florida, 32937
                                321-773-3181
                              jbliss@indianharbour.org




                                         E
                                Property management
                                140 Tomahawk Drive
                               Indian Harbour Beach, Brevard County
                                                                           WITNESS
                               Florida, 32937
                               321-773-3423




                               Property management
                               140 Tomahawk Drive
                               Indian Harbour Beach, Brevard County
                               Florida, 32937                            WITNESS
                               321-773-3423




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(Francis is NOT the
                                                                               FRAUD REPORTED
last name of this
party. However this is
the name they sign on                        PHIPPS COURT REPORTING, “stenographer/fake person”
what is discovered a
FORGED and                                   1551 Forum Place #200
ALTERED September                            West Palm Beach, Palm Beach County
11, 2020 Transcript,
evidence submitted:                          Florida, 33401
AUDIO indicates                              561-935-9788
LORI is the first
name, last name is
difficult to hear, but it
defiantly NOT
“Francis.”
                                                                               (Incident date: 10/8/2020)

                                               HITMAN FOR HIRE (Bruce Lee Assam’s gang
                                               member, identified, though nameless at this time)
    (Security camera
    footage reveals man,                       Information can be obtained through investigation into Bruce
    confirmed by IHBPD to                      Lee Assam’s AT&T phone record/contacts, Bruce Lee Assam
    have been HIRED BY                         has known this man who drives a white Mercedes sedan
    Bruce Lee Assam,                           seen on October 8, 2020 at 1009 Steven Patrick Ave Indian
    evidence filed)                            Harbour Beach, FL 32937 (transcript of phone call between
                                               Lena Marie Lindberg and Sergeant John Barberi of the
                                               IHBPD has been filed)

                                                                        (Witness to Domestic Violence VIOLATION reported
                                                                        to the IHBPD and USPIS on 7/31/2020. Video played
    (Currently in contempt                                              for Judge Christina Serrano during the 8/17/2020
                                             MAILMAN
    for FTA hearing in                                                  hearing for Lindberg v. Assam 05-2020-DR-031302)
    response to issued                       1071 S Patrick Drive Suite 101
    subpoena for the earlier                 Satellite Beach, Brevard County                                    WITNESS
    9/11/2020 Assam v.
    Lindberg hearing with                     Florida, 32937
    Judge George Turner III,
    #05-2020-CA-030642)                       800-275-8777




                                                                    Florida Bar #553565
                                             Public Defender Eighteenth Judicial Circuit
                                             2725 Judge Fran Jamieson Way
                                              Viera, Brevard County
                                              Florida, 32940
                                              321-617-7373
                                             sedwards@pd18.net




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                                                                      Florida Bar #405833
                               States Attorney
                               2725 Judge Fran Jamieson Way
                               Viera, Brevard County
                               Florida, 32940
                               321-637-5575
                               parcher@sa18.org


                                                    (Badge #666)
                               “Brevard County Deputy Sheriff”
                              700 Park St.
                              Titusville, Brevard County
                              Florida, 32780
                                321-264-5201




                              Attorney for the Indian Harbour Beach Police Officers (#SC21-208)
                               201 E Pine St. #1200
                                Orlando, Orange County
                              Florida, 32801
                               407-422-4310
                              pchapman@drml-law.com




                                Judicial Assistant for Judge David Silverman
                                2825 Judge Fran Jamieson Way
                               Viera, Brevard County
                               Florida, 32940
                               321-671-7284
                                Lisa.Elkhouri@flcourts18.org




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                             Brevard County Judge
                             2825 Judge Fran Jamieson Way
                              Viera, Brevard County
                              Florida, 32940
                              321-671-7284
                              David. Silverman@flcourts18.org




                              Information can be obtained from witness/suspect,
                              Defendant # 12. AUDIO/VIDEO from December
                              11, 2020 references this information having been
                              written on a card which fell out of The Plaintiff’s
                              hand when she was ASSAULTED and ILLEGALLY
                              JAILED by Defendants; Utsler, Bernard, and
                              Robins of BCSO



                                     Building Department
                              40 Cheyenne Court
                              Indian Harbour Beach, Brevard County
                              Florida, 32937
                              321-773-3030




                                Volunteer fireman
                              1116 Pine Tree Dr.
                              Indian Harbour Beach, Brevard County
                               Florida, 32937
                               321-773-5505




                                     7
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                               CURRENTLY IN CUSTODY
                                                             Florida Bar #196256
                               529 Versailles Dr Suite 104
                              Maitland, Orange County
                              Florida, 32751
                                407-831-1956
                               huhrig@defensegroup.com




                               Public Defender Eighteenth Judicial Circuit
                               2825 Judge Fran Jamieson Way
                              Viera, Brevard County
                              Florida, 32940
                                321-637-5575




                               unknown
                               1425 Aurora Rd. Or: 2525 Aurora Ste. 104
                               Melbourne, Brevard County
                               Florida, 32935
                                321-607-6807




                               Victim’s Advocate/Women’s Center
                               1425 Aurora Rd
                               Melbourne, Brevard County
                                Florida, 32935
                              321-242-3110        321-607-6807
                                 tsoper@womenscenter.net




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DEFENDANT #25
HAROLD UHRIG IS AREPEAT OFFENDER

(EARLIER INTERFERED WITH MS. LINDBERG’S LT: CASE #
05-2020-CF-052515 QUALIFYING AS PERJURY AND FRAUD TO BE
ADDITIONALLY CHARGED WITH RELATED RICO ACT OFFENSES)

SEE SUPREME COURT OF FLORIDA CASE # SC21-208




                                         9
DEFENDANT #25
    Case 6:21-cv-01746-RBD-DCI Document 1 Filed 10/19/21 Page 10 of 33 PageID 10




HAROLD UHRIG IS AREPEAT OFFENDER

(EARLIER INTERFERED WITH MS. LINDBERG’S LT: CASE #
05-2020-CF-052515 QUALIFYING AS PERJURY AND FRAUD
TO BE ADDITIONALLY CHARGED WITH RELATED RICO
ACT OFFENSES)

SEE SUPREME COURT OF FLORIDA CASE # SC21-208




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DEFENDANT #25
   Case 6:21-cv-01746-RBD-DCI Document 1 Filed 10/19/21 Page 11 of 33 PageID 11




HAROLD UHRIG IS AREPEAT OFFENDER

(EARLIER INTERFERED WITH MS. LINDBERG’S LT: CASE #
05-2020-CF-052515 QUALIFYING AS PERJURY AND FRAUD
TO BE ADDITIONALLY CHARGED WITH RELATED RICO ACT
OFFENSES)

SEE SUPREME COURT OF FLORIDA CASE # SC21-208




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DEFENDANT #25
   Case 6:21-cv-01746-RBD-DCI Document 1 Filed 10/19/21 Page 12 of 33 PageID 12




HAROLD UHRIG IS AREPEAT OFFENDER

(EARLIER INTERFERED WITH MS. LINDBERG’S LT: CASE #
05-2020-CF-052515 QUALIFYING AS PERJURY AND FRAUD
TO BE ADDITIONALLY CHARGED WITH RELATED RICO
ACT OFFENSES)

SEE SUPREME COURT OF FLORIDA CASE # SC21-208




                                       12
DEFENDANT #25
    Case 6:21-cv-01746-RBD-DCI Document 1 Filed 10/19/21 Page 13 of 33 PageID 13




HAROLD UHRIG IS AREPEAT OFFENDER

(EARLIER INTERFERED WITH MS. LINDBERG’S LT: CASE #
05-2020-CF-052515 QUALIFYING AS PERJURY AND FRAUD
TO BE ADDITIONALLY CHARGED WITH RELATED RICO ACT
OFFENSES)

SEE SUPREME COURT OF FLORIDA CASE # SC21-208




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DEFENDANT #25
   Case 6:21-cv-01746-RBD-DCI Document 1 Filed 10/19/21 Page 14 of 33 PageID 14




HAROLD UHRIG IS AREPEAT OFFENDER

(EARLIER INTERFERED WITH MS. LINDBERG’S LT: CASE #
05-2020-CF-052515 QUALIFYING AS PERJURY AND FRAUD
TO BE ADDITIONALLY CHARGED WITH RELATED RICO ACT
OFFENSES)

SEE SUPREME COURT OF FLORIDA CASE # SC21-208




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                                                         (Possible impersonation)
                               Attorney for “Larry Byrd” in the Illinois (Skokie) Court
                                   770 Park Street Suite 200
                              Naperville, Du Page County
                              Illinois, 60563
                                  630-527-1595
                                  rdawidiuk@collinslaw.com




                                Information unknown, security camera footage
                                available to help determine the identity of the
                                party, there are patterns detected revealing the
                                presence of this party having involvement
                                between at lease July 2019 through currently




                                    Information unknown, security camera footage
                                    available to help determine the identity of the party,
                                    there are patterns detected revealing the presence of
                                    this party having involvement between at lease July
                                    2019 through currently




                                  Information unknown, security camera footage
                                  available to help determine the identity of the party,
                                  there are patterns detected revealing the presence of
                                  this party having involvement between at lease July
                                  2019 through currently




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                                 Evidence Manager
                                 40 Cheyenne Court
                                Indian Harbour Beach, Brevard County
                                Florida, 32937
                                321-773-3030
                               jhoffhine@indianharbour.org




                               Chief of Police
                               40 Cheyenne Court
                               Indian Harbour Beach, Brevard County
                               Florida, 32937
                               321-773-3030
                                dbutler@indianharbour.org




                               Police Officer
                               40 Cheyenne Court
                               Indian Harbour Beach, Brevard County
                               Florida, 32937
                               321-773-3030
                               cshaw@indianharbour.org



                                                         (Retired October 2020)
                                Corporal Detective
                               40 Cheyenne Court / 154 Lansing Island Dr.
                               Indian Harbour Beach, Brevard County
                               Florida, 32937
                               321-773-3030
                                 gpenley@indianharbour.org




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                                Police Officer
                              40 Cheyenne Court
                              Indian Harbour Beach, Brevard County
                               Florida, 32937
                               321-773-3030
                               tmoderson@indianharbour.org




                               1 of 2 attorneys hired by Bruce Lee Assam
                               200 S Orange Ave Suite 2600
                                 Orlando, Orange County
                                Florida, 32801




                                57 Trust
                               P.O. Box 621538              (117 Windward Way)
                               Oviedo, Seminole County    (Indian Harbour Beach,
                               Florida, 32762-1538        Brevard County, FL 32937)
                               321-720-2936
                               bkbassam@57trust.com
                               bassam@holidaybuilders.com



                               Accountant for Bruce Lee Assam (Green Oak Partners)
                               1913 Brinkler Court (Sister of Bruce Lee Assam, 57 Trust)
                               Oviedo, Seminole County
                               Florida, 32765
                               407-865-0447
                               jgillette@57trust.com




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                                Police Detective
                                40 Cheyenne Court
                                Indian Harbour Beach, Brevard County
                               Florida, 32937
                               321-773-3030 321-426-6134 (cell)
                               ethompson@indianharbour.org




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